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                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF CONNECTICUT
                                 BRIDGEPORT DIVISION

 In re:                                                Chapter 11

 HO WAN KWOK,                                          Case No: 22-50073 (JAM)

                        Debtor.


 PACIFIC ALLIANCE ASIA OPPORTUNITY Contested Matter [Doc. No. 57]
 FUND, L.P.,

                        Movant,

 v.

 HO WAN KWOK,

                        Respondent.

                                  DECLARATION OF MEI GUO

          I, Mei Guo, hereby declare as follows:

          1.     I am the sole member of HK International Funds Investments (USA) Limited,

LLC (“HK USA”), the sole owner of the yacht known as the “Lady May.” As such, I have

personal knowledge of the facts set forth in this Declaration.

          2.     HK USA contracted with Yachtzoo SARL (“Yachtzoo”) to provide yacht

management services for the Lady May, and Yachtzoo continues to serve in that capacity.

          3.     The Lady May departed Funchal, Madeira, Portugal, on June 24, 2022, and is

currently en route to Hamilton, Bermuda, with an expected arrival date of on or about July 1,

2022.

          4.     Based, in part, upon the written representation of Yachtzoo, all work described in

that certain Declaration of Russell Stockil dated April 10, 2022, and filed in this bankruptcy case

in connection with this matter, as to be performed has been completed except the work which

                                                   1
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could not be completed within the time allowed, specifically, the replacement of the sea inlet

valves.1

        5.      The Lady May’s departure had been delayed waiting for a favorable weather

window to cross the Atlantic. With an expected arrival to Hamilton, Bermuda, on or about July

1, 2022, it is expected that after refueling the Lady May can depart Bermuda for Bridgeport,

Connecticut on July 2nd or 3rd.

        6.      Based on this route and weather and other circumstances permitting, I reasonably

anticipate that the Lady May will be present in the navigable waters of Connecticut between July

5th and 6th, 2022.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United States of America that the forgoing is true and correct.

        Dated: June 30, 2022

                                                        /s/ Mei Guo
                                                        Mei Guo




1
 Due to a miscommunication between Mr. Stockil and my counsel, my prior declarations did not include
this clarification. Mr. Stockil had represented that all contemplated work had been completed (which I
relied upon) because the decision had been made prior to the entry of the Stipulated Order Compelling
HK International Funds Investments (USA) Limited, LLC to Transport and Deliver that Certain Yacht,
the “Lady May” [ECF No. 299] (“Stipulated Order”) on April 29, 2022, not to replace the sea valves at
that time – which, as stated in Mr. Stockil’s Declaration, would have required an additional three to six
weeks. Upon information and belief, at the time the decision was made, my counsel informed counsel for
the Official Committee of Unsecured Creditors and counsel for Pacific Alliance Asia Opportunity Fund,
L.P. that the sea inlet valve replacement work was being postponed and would be completed in the United
States after the Lady May’s arrival in Bridgeport, Connecticut. HK USA intends to fund a “Repair
Reserve” for this work in accordance with the Stipulated Order, specifically, ¶ 11.
                                                   2
